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                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA



                                                         Case No.: 1:23-md-3076-KMM
     In RE:

     FTX CRYPTOCURRENCY EXCHANGE
     COLLAPSE LITIGATION

    THIS DOCUMENT RELATES TO: ALL CASES




                                      [PROPOSED] ORDER

           THIS CAUSE comes before the Court on Elizabeth A. Greenman’s Motion to Withdraw

    her Appearance.

    Being fully advised it is,

           ORDERED that the motion is hereby GRANTED. Accordingly, the Clerk shall

    terminate Elizabeth A. Greenman’s appearance in the above-captioned matter.




           ORDERED in Chambers, in Miami, Florida this ____ day of ______________, 2024.




                                               K. MICHAEL MOORE
                                               UNITED STATES DISTRICT COURT JUDGE
